Case 0:07-cr-60238-WPD Document 161 Entered on FLSD Docket 04/30/2008 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 07-60238-CR-ZLOCH


  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.                                                      O R D E R

  ISHWADE SUBRAN, PATRICK
  AIKEN, WADE PARKER and
  ANTHONY FOSTER,

               Defendants.
                                       /

        THIS    MATTER   is   before       the   Court   upon   the   Report   And

  Recommendation (DE 136) filed herein by United States Magistrate

  Judge Lurana S. Snow and upon the Objections To Magistrate’s Report

  (DE 144) filed by the Defendant, Patrick Aiken.                 The Court has

  conducted a de novo review of the entire record herein and is

  otherwise fully advised in the premises.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1.     The Defendant Patrick Aiken’s Objections To Magistrate’s

  Report (DE 144) be and the same is hereby OVERRULED;

        2.     The Report And Recommendation (DE 136) filed herein by

  United States Magistrate Judge Lurana S. Snow, be and the same is

  hereby approved, ratified and adopted by the Court; and

        3.     The Motion To Adopt Motion To Dismiss (DE 137) filed
Case 0:07-cr-60238-WPD Document 161 Entered on FLSD Docket 04/30/2008 Page 2 of 2




  herein by Defendant Wade Parker be and the same is hereby            DENIED

  as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this       30th          day of April, 2008.




                                     WILLIAM J. ZLOCH
                                     United States District Judge

  Copies furnished:

  The Honorable Lurana S. Snow
  United States Magistrate Judge

  All Counsel of Record




                                       2
